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14                      UNITED STATES DISTRICT OF CALIFORNIA
15                         SOUTHERN DISTRICT OF CALIFORNIA
16    MARIA PALACIOS, individually and as              Case No. '20CV0450 MMA BGS
      successor in interest to her deceased son,
17    Ivan Ortiz,
                                                       COMPLAINT
18                 Plaintiff,
19                 v.                                  DEMAND FOR JURY TRIAL
20    COUNTY OF SAN DIEGO; WILLIAM
      GORE; ERIKA FRIERSON; SAN DIEGO
21    COUNTY SHERIFF’S DEPARTMENT
      CHIEF MEDICAL OFFICER; BARBARA
22    ANN V. LEE; ROSA PATRON; and
      CURRENTLY UNKNOWN SAN DIEGO
23    COUNTY SHERIFF’S DEPARTMENT
      PERSONNEL,
24
                  Defendants.
25

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27   ///
28   ///
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 1                                    I.     INTRODUCTION
 2         1.     In March 2019, Ivan Ortiz (“Ivan”) was a pretrial detainee in the San Diego
 3   County Central Jail. Because jail staff knew Ivan had a history of mental illness and
 4   suicide attempts, he was being held in the jail’s Psychiatric Stabilization Unit (“PSU”).
 5         2.     While in the PSU on the morning of March 18, 2019, jail staff discovered
 6   Ivan had tried to strangle himself with a noose made from a towel. Ivan told jail staff he
 7   was “feeling sad and depressed” and felt like “ending his life.” Ivan told jail staff he was
 8   hearing voices telling him to hurt and kill himself.
 9         3.     Jail staff moved Ivan to a single-person observation cell within the PSU,
10   equipped with video cameras that allowed for continuous monitoring.
11         4.     At some point, Ivan was given food—in a plastic bag.
12         5.     Jail staff claim they then checked on Ivan later that afternoon, at 2:55 p.m.
13   Jail staff then left Ivan alone, unmonitored, until at least 3:40 p.m.
14         6.     During those forty-five minutes, Ivan took the plastic bag he had been given,
15   got into bed, and covered himself with a sheet. He pulled the plastic bag over his face.
16   And he left it there until he suffocated.
17         7.     When Ivan’s mother, Plaintiff Maria Palacios, heard that her son was in
18   trouble (through a doctor or nurse at UCSD Medical Center), jail staff stonewalled Ms.
19   Palacios. Fully aware her son was dying or dead, jail staff treated Ms. Palacios with
20   coldhearted contempt, refusing to allow her to see, or even know anything about, her son
21   after he was transported to the hospital. Ivan was pronounced dead at the hospital,
22   unaccompanied by a single family member or friend.
23         8.     Ms. Palacios now sues the County of San Diego and San Diego County
24   Sheriff’s Department’s policymakers and personnel for damages, pursuant to 42 U.S.C. §
25   1983 and various other federal and state laws.
26                            II.    JURISDICTION AND VENUE
27         9.     The Court has subject matter jurisdiction over this action pursuant to 28
28   U.S.C. §§ 1331, 1343, and 1367, as Plaintiff asserts causes of action arising under 42
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 1   U.S.C. §§ 1983 and 12101 et seq., and 29 U.S.C. § 749a, in addition to California causes
 2   of action that arise from the same controversy giving rise to Plaintiff’s federal claims.
 3         10.       The Court has personal jurisdiction over all Defendants in this action, as all
 4   Defendants are and were, at all times relevant to this complaint, situated, regularly conduct
 5   business, and/or are and were domiciled in the State of California.
 6         11.       Venue is proper in this district, as the events giving rise to this action occurred
 7   in the County of San Diego, California, which is located within the Southern District of
 8   California.
 9                                            III.   PARTIES
10         12.       Plaintiff Maria Palacios (“Plaintiff” or “Ms. Palacios”) is and was, at all times
11   relevant to this complaint, an individual domiciled in California. Maria was decedent Ivan
12   Ortiz’s mother. In addition to suing individually for damages arising from Ivan’s death,
13   Maria sues as Ivan’s sole successor in interest to prosecute those claims which survived
14   Ivan’s death. See Cal. Civ. Proc. Code § 377.30.
15         13.       Defendant County of San Diego (“County”) is and was, at all times relevant
16   to this complaint, a municipal entity duly organized under California law. The San Diego
17   County Sheriff’s Department (“Department”) is the chief law enforcement agency for the
18   County. The Department manages and operates the San Diego Central Jail (“Central Jail”)
19   and was, at all times relevant to this complaint, responsible for the policies, procedures,
20   practices, and customs of the Central Jail, as well as for the hiring, training, supervision,
21   discipline, actions, and inactions of the County’s agents and/or employees working in the
22   Central Jail.
23         14.       Defendant William Gore (“Gore”) is and was, at all times relevant to this
24   complaint, an individual and the San Diego County Sheriff, the highest position in the
25   Department. Gore was, at all times relevant to this complaint, ultimately responsible for
26   the hiring, screening, training, retention, supervision, discipline, counseling, and control
27   of all Department personnel, including all detention officers and medical staff in the
28   Central Jail. Gore is and was, at all times relevant to this complaint, a final policymaker
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 1   for the County and Department, responsible for the County’s and Department’s policies,
 2   procedures, practices, and customs pertaining to the County jails, detentions, and the
 3   provision of adequate medical services (including mental-health services) to those in
 4   County custody.
 5         15.    Defendant Erika Frierson (“Frierson”) is and was, at all times relevant to this
 6   complaint, an individual and a Department Commander, responsible for overseeing the
 7   Medical Services Division of the Department’s detention operations. Frierson is and was,
 8   at all times relevant to this complaint, a final policymaker for the County and Department,
 9   responsible for the County’s and Department’s policies, procedures, practices, and
10   customs pertaining to the County jails, detentions, and the provision of adequate medical
11   services (including mental-health services) to those in County custody. Frierson is sued
12   in her individual and official capacities.
13         16.    Defendant San Diego County Sheriff Chief Medical Officer (“Chief Medical
14   Officer”) is and was, at all times relevant to this complaint, an individual and the
15   Department’s Chief Medical Officer, responsible for overseeing the Medical Services
16   Division of the Department’s detention operations. Chief Medical Officer is and was, at
17   all times relevant to this complaint, a final policymaker for the County and Department,
18   responsible for the County’s and Department’s policies, procedures, practices, and
19   customs pertaining to the County jails, detentions, and the provision of adequate medical
20   services (including mental-health services) to those in County custody. The true name of
21   Chief Medical Officer is currently unknown to Plaintiff. If/when Plaintiff learns Chief
22   Medical Officer’s identity, Plaintiff will seek leave to amend this pleading accordingly.
23   Chief Medical Officer is sued in his/her individual and official capacities.
24         17.    Defendant Barbara Ann V. Lee (“Lee”) is and was, at all times relevant to
25   this complaint, an individual and the Department’s Medical Services Administrator,
26   responsible for overseeing the Medical Services Division of the Department’s detention
27   operations. Lee is and was, at all times relevant to this complaint, a final policymaker for
28   the County and Department, responsible for the County’s and Department’s policies,
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 1   procedures, practices, and customs pertaining to the County jails, detentions, and the
 2   provision of adequate medical services (including mental-health services) to those in
 3   County custody. Lee is sued in her official and individual capacities.
 4         18.     Defendant Rosa Patron (“Patron”) is and was, at all times relevant to this
 5   complaint, an individual working as for the Department as a law-enforcement officer.
 6         19.     Defendants Currently Unknown San Diego Sherriff’s Department Personnel
 7   (“Currently Unknown Department Personnel”) are individuals whose identities, titles,
 8   employment/agency relationships are currently unknown to Plaintiff. These unknown
 9   individuals include jail staff, detention officers, medical staff, medical providers,
10   supervisors, employees, agents, contractors, and final policymakers who substantially
11   contributed to the acts and omissions giving rise to the damages claimed herein.
12         20.     Defendants each acted under color of state law, within the scope of their
13   agency and/or employment, and with the full knowledge and consent, either express or
14   implied, of his or her principal and/or employer.
15           IV.    CALIFORNIA GOVERNMENT CLAIMS REQUIREMENTS
16         21.     Plaintiff has complied with the state-law requirements to assert the state-law
17   causes of action alleged in this complaint, including those set forth in California
18   Government Code sections 900 et seq.
19                                         V.     FACTS
20   A.    Jail Staff’s Deliberate Indifference to Serious Medical Risks and Needs
21         22.     From June 9, 2018, through March 18, 2019, Ivan was a pretrial detainee in
22   County custody at Central Jail.
23         23.     County records show, and jail staff actually knew—on March 18, 2019—that
24   Ivan had been diagnosed with schizophrenia and had a history of suicidality. In fact, prior
25   to March 18, 2019, Ivan had at least one documented suicide attempt while in County
26   custody at Central Jail. Thus, on March 18, 2019, Ivan was being held in Central Jail’s
27   Psychiatric Stabilization Unit (“PSU”).
28         24.     On the morning of March 18, 2019, jail staff found Ivan sitting in his PSU
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 1   cell with a mark around this neck indicating he had just tried to strangle himself. Jail staff
 2   then found a noose made from a towel in Ivan’s cell. Ivan told jail staff he was “feeling
 3   sad and depressed,” and he felt like “ending his life.” He told jail staff he was hearing
 4   voices telling him to hurt and/or kill himself.
 5          25.    Ivan was moved to a single-person observation cell within the PSU that was
 6   equipped with video cameras that allowed jail staff to continuously monitor the cell.
 7          26.    At some point, after Ivan was transferred to the single-person observation
 8   cell, a currently unknown Department deputy, employee, and/or agent gave Ivan food in
 9   a plastic bag.
10          27.    Jail staff claim they then observed Ivan at 2:55 p.m. without issue. Jail staff
11   did not then check on Ivan again until 3:40 p.m. During those forty-five minutes, Ivan
12   suffocated himself.
13          28.    Ivan can be seen on the recorded video footage getting the plastic bag, getting
14   into bed, pulling the sheet over his head, and putting the plastic bag over his face until he
15   suffocated.
16          29.    When jail staff finally checked on Ivan, he was unconscious or dead. 9-1-1
17   was called, and Ivan was transported to UCSD Medical Center. Ivan did not arrive at
18   UCSD Medical Center until about 4:30 p.m.
19          30.    Medical staff at UCSD Medical Center were able to restore Ivan’s heartbeat,
20   but he had been deprived of oxygen for too long. Ivan was pronounced dead at 8:27 p.m.
21   B.     Jail Staff’s Intentional Infliction of Emotional Distress
22          31.    At no point did jail staff attempt to contact Ms. Palacios to inform her of
23   Ivan’s medical emergency. Rather, Ms. Palacios heard the news from a doctor or nurse at
24   UCSD Medical Center who called Ms. Palacios.
25          32.    As soon as she got the news, Ms. Palacios went to UCSD Medical Center
26   with her daughter. Ms. Palacios raced around the hospital desperately trying to find her
27   son.
28          33.    As Ivan’s condition continued to deteriorate, a doctor or nurse went to meet
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 1   Ivan’s family. They attempted to take Ms. Palacios and her daughter to see Ivan before
 2   he died.
 3         34.    A currently unknown Department deputy, employee, and/or agent outside
 4   Ivan’s room stopped Ms. Palacios and her daughter cold—preventing them from seeing
 5   Ivan one last time before he died.
 6         35.    At this point desperate, Ms. Palacios drove to Central Jail to talk to someone
 7   about getting permission to see Ivan at the hospital. She waited over an hour and a half
 8   before anyone even addressed her.
 9         36.    Eventually, a currently unknown Department deputy, employee, and/or agent
10   finally approached Ms. Palacios to rudely inform her she did not need to keep waiting for
11   a permit to see her son, because she would not be able to see him at all. Ivan was dead.
12         37.    Ms. Palacios and her daughter then returned to the hospital where they were
13   confronted by Patron, a Department detective.
14         38.    Fully aware of Ms. Palacios’ grief, Patron proceeded to rudely interrogate
15   Ms. Palacios and her daughter, causing Ms. Palacios severe emotional distress.
16   C.    County’s and Department’s Deliberate Indifference to Risk of Suicides in
17         County Jails
18         i.     National Commission on Correctional Health Care’s Findings and
19                Recommendations
20         39.    The National Commission on Correctional Health Care (“NCCHC”) sets
21   standards for health services in correctional facilities, operates an accreditation program
22   for institutions that meet those standards, produces resource publications, conducts
23   educational conferences, and offers certification to correctional health professionals.
24         40.    On November 8, 2016, the Department contracted with NCCHC for
25   assistance regarding compliance with the NCCHC standards for in County jails.
26         41.    In January 2017, the NCCHC provided a report to the Department after
27   reviewing the practices of County jails. Of the thirty-eight “essential standards”—all of
28   which must be met in order to attain accreditation—the Central Jail failed to meet twenty-
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 1   six standards.
 2         42.    NCCHC found–among other things–County jails failed to review inmates’
 3   deaths in a timely manner, healthcare providers were not being informed of any results of
 4   death reviews, and there was no formal peer-review process for contract medical providers
 5   or for nurses.
 6         43.    NCCHC found the inmate grievances were hard to track, and it was difficult
 7   to count and sort the number of medical grievances.
 8         44.    NCCHC found there was no central log to track correctional officers’ training
 9   requirements on health-related matters.
10         45.    According to NCCHC, a standard on chronic disease services is required to
11   ensure that an inmate/patient suffering from one of nine chronic conditions is identified
12   and enrolled in a chronic disease program based on national clinical protocols. The nine
13   chronic conditions include “major mental illness.”         The County medical providers
14   interviewed by NCCHC stated they were unaware of any chronic disease protocols.
15         46.    NCCHC recommended a responsible physician oversee the development of
16   protocols for all nine chronic diseases identified in the standard.
17         47.    NCCHC recommended a new policy and procedure be implemented, and a
18   new form be used, for providers to better document chronic diseases.
19         48.    NCCHC advised that a central list of chronic-disease patients be available to
20   ensure everyone is treated according to their disease status.
21         49.    NCCHC recommended sufficient and suitable space, supplies, and
22   equipment be available for the Department’s medical, dental, and mental-health services.
23         50.    NCCHC advised suicides may be prevented by implementing prevention
24   efforts and interventions.
25         51.    The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
26   unknown policymakers for the County and the Department on the issue of medical
27   services, knew of and failed to implement the foregoing recommendations, thus
28   substantially contributing to Ivan’s death.
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 1         ii.     Disability Rights California’s Findings and Recommendations
 2         52.     Disability Rights California (“DRC”) is a nonprofit agency and the largest
 3   disability rights group in the nation. DRC is established under federal law to protect and
 4   advocate for the rights of people with disabilities.
 5         53.     In 2015, DRC opened an investigation into conditions at County jails.
 6         54.     In April of 2018, DRC published its finding: “Suicides in San Diego County
 7   Jail: A System Failing People with Mental Illness” (“DRC Report”).
 8         55.     DRC found “an extremely high number of jail inmates with significant
 9   mental health treatment needs.”
10         56.     DRC found “significant deficiencies in County’s suicide prevention
11   practices.”
12         57.     DRC found the “County’s jail system subjects inmates with mental health
13   needs to a grave risk of psychological and other harms by failing to provide adequate
14   mental health treatment.”
15         58.     DRC found “the existing systems of jail oversight have failed” to properly
16   monitor jail conditions, implement suicide-prevention practices, and provide adequate
17   mental-health treatment practices.
18         59.     DRC experts identified twenty-four “Key Deficiencies” and provided forty-
19   six recommendations to address deficiencies in the County’s suicide-prevention and
20   related mental-health treatment delivery efforts.
21         60.     DRC provided nine components a correctional suicide prevention program to
22   be effective, including but not limited to: “Supervision of At-Risk Inmates” and “Suicide
23   Prevention Training.”
24         61.     The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
25   unknown policymakers for the County and the Department on the issue of medical
26   services, knew of and failed to implement the foregoing recommendations, thus
27   substantially contributing to Ivan’s death.
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 1          iii.   National Center on Institutions and Alternatives’ Findings and
 2                 Recommendations
 3          62.    Following the DRC Report, Lindsay Hayes, a project director with the
 4    National Center on Institutions and Alternatives, assessed the suicide-prevention practices
 5    within County jails. His report, “Report on Suicide Prevention Practices within the San
 6    Diego County Jail System” (“Hayes’ Report”), was released in June 2018.
 7          63.    Hayes’ Report focused on eight critical components of a suicide prevention
 8    policy which include staff training, identification/screening, communication, housing,
 9    levels of supervision/management, intervention, reporting, and follow-up/mortality-
10    morbidity review. Based on his on-site assessment, as well as a review of various
11    Department policies and procedures related to suicide prevention, Hayes found several
12    policies inadequate to prevent suicide.
13          64.    Hayes found “[t]he suicide prevention training requirements . . . are vague.”
14    Hayes found that, in 2017, only 31% of deputies and only 73% of medical personnel had
15    received annual suicide prevention training.
16          65.    Hayes found “the conditions for suicidal inmates placed in safety cells and
17    Enhanced Observation Housing (“EOH”) cells were harsher than for those on segregation
18    status,” and that the safety cells are “generally overly restrictive, and seemingly punitive.”
19    Hayes further stated that confining a suicidal inmate to his/her cell twenty-four hours a
20    day only enhances isolation and is anti-therapeutic.
21          66.    Hayes found “various suicide prevention policies provide limited guidance
22    regarding the observation of suicidal inmates, simply stating that custody personnel are
23    required to provide direct visual observation of suicidal inmates ‘at least twice in every
24    thirty (30) minute period.’” Hayes found there was “no option in any [Department] policy
25    for constant and continuous observation of inmates at the highest risk for suicide.”
26          67.    Hayes’ Report set forth thirty-two actionable recommendations.
27          68.    Hayes “strongly recommended that the [suicide prevention] policy be revised
28    to include a more robust description of the requirements for both pre-service and annual
                                                     10
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 1    suicide prevention training, to include the duration of each workshop and an overview of
 2    the required topics.”
 3           69.    Hayes “strongly recommended that possessions and privileges provided to
 4    inmates on suicide precautions should be individualized and commensurate with their
 5    level of risk.”
 6           70.    Hayes “strongly recommended that all . . . suicide prevention policies be
 7    revised to include two levels of observation that specify descriptions of behavior
 8    warranting each level of observation.” Additionally, “consistent with the standard of care,
 9    an inmate identified as potentially suicidal (or placed on suicide precautions after hours
10    by non-mental health personnel) should be immediately referred to a mental health
11    clinician for completion of a suicide risk assessment.”
12           71.    Hayes strongly recommended “officials conduct a comprehensive physical
13    plant review of all jail cells utilized for the housing of suicidal inmates to ensure that they
14    are reasonably suicide-resistant.”
15           72.    The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
16    unknown policymakers for the County and the Department on the issue of medical
17    services, knew of and failed to implement the foregoing recommendations, thus
18    substantially contributing to Ivan’s death.
19    D.     County’s and Department’s de Facto Customs and Practices Resulting in
20           Preventable Suicides in County Jails
21           73.    At the time of Ivan’s death, there had been—in addition to the deliberate
22    indifference described in the foregoing paragraphs—long-standing de facto customs and
23    practices of improperly and inadequately investigating jail deaths; covering up misconduct
24    resulting in jail deaths; and failing to discipline and train deputies and medical staff.
25           74.    The 2015/2016 San Diego County Grand Jury (“Grand Jury”) took issue with
26    the Jail Information Management System (“JIMS”), a database used for maintaining
27    inmate records. Jail Staff reported having trouble sorting and retrieving information from
28    the eleven-year old software. The lack of an accessible, central database contributes to
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 1    improper and inadequate investigations and cover-ups.
 2             75.   The 2016/2017 San Diego County Grand Jury took issue with suicides in jails
 3    in San Diego. The Grand Jury found lacking “[a] continuous oversight of the suicide-
 4    prevention plan . . . to ensure that the suicide-prevention plan, the Policy and Procedures
 5    Manual (“P&PM”), and the facilities’ physical features are kept current with suicide
 6    methods used by the inmates.”
 7             76.   The 2018/2019 San Diego Grand Jury also focused on mental-health issues
 8    in County jails, including the high rate of suicides. The Grand Jury found (i) suicide is a
 9    leading cause of death among inmates in local jails in the United States; (ii) San Diego
10    County jails have seen more than 120 deaths since 2007, including 30 suicides; and (iii)
11    County jails have been criticized many times over the past decade for their high suicide
12    rates.
13             77.   The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
14    unknown policymakers for the County and the Department were, moreover, aware of the
15    following examples that resulted from a failure to coordinate and share critical medical
16    information among personnel:
17                   a. The 2008 suicide of Adrian Correa, a 21-year-old paranoid schizophrenic
18                      who had threatened to kill himself multiple times. The County’s Citizens’
19                      Law Enforcement Review Board (“CLERB”) expressed concern about a
20                      breakdown in communication during shift changes, stating: “A checklist
21                      that includes the status of at-risk inmates and the Department’s response
22                      plan would enhance continuity of care, monitoring and housing.” (The
23                      County and the Department rejected this recommendation.)
24                   b. On June 25, 2011, Daniel Sisson died from an acute asthma attack made
25                      worse by drug withdrawal. He lay dead for several hours before a fellow
26                      inmate found him. Due to lack of communication between jail staff, jail
27                      staff had failed to monitor him.
28                   c. In September 2012, Bernard Victorianne suffered for five days from drug
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 1                  overdose because the staff ignored available (yet unshared) medical
 2                  information that he had ingested a baggie of methamphetamine, and that
 3                  he was to return to the hospital immediately if he became symptomatic of
 4                  overdose. Mr. Victorianne was placed in segregation instead of in a
 5                  medical unit. He was eventually found dead face-down, naked in his cell.
 6                  Jail staff had failed to input critical medical information into the JIMS
 7                  system.    And Jail staff had failed to communicate with each other
 8                  regarding Mr. Victorianne’s medical alerts.
 9               d. In 2014, former U.S. Marine Kristopher NeSmith committed suicide after
10                  the jail staff failed to treat Mr. NeSmith for his significant and known
11                  mental illness and a history of suicide attempts. When Mr. NeSmith was
12                  last seen alive about 10:00 p.m., a guard noticed a bedsheet fashioned into
13                  a rope as he was making a routine safety throughout the detention center.
14                  The deputy, without breaking stride, said something to the effect of,
15                  “NeSmith, what are you trying to do? Kill yourself? Take that thing
16                  down.” The deputy then failed to communicate this information to other
17                  jail staff or to call for psychiatric intervention. No other jail staff took any
18                  further action. Mr. NeSmith was later found dead, having hung himself.
19               e. In 2014, Ronnie Sandoval died in the Jail from drug overdose. Showing
20                  obvious symptoms of overdose, the nursing staff did not summon help or
21                  treat him for overdose. Nor did the nurses pass on information regarding
22                  Mr. Sandoval’s condition during the shift change. Mr. Sandoval died
23                  from drug intoxication.
24               f. In 2015, Ruben Nunez, a schizophrenic patient transferred from Patton
25                  State Hospital, died when jail doctors failed to treat a potentially lethal
26                  condition for water intoxication. The jail medical providers treating Mr.
27                  Nunez failed to read his medical records and failed to input critical
28                  medical information into JIMS. One of the psychiatrists testified she did
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 1                   not know how to use JIMS to add “alerts,” meaning the most critical
 2                   information regarding a patient’s care. She testified she was never trained
 3                   to do this.
 4                g. In 2016, Heron Moriarty was arrested after having a psychotic break.
 5                   Despite multiple warnings by family members, including twenty-eight
 6                   telephone calls by his wife, jail staff failed to communicate his condition
 7                   to other jail staff and failed to provide him psychiatric care. On the sixth
 8                   day, Mr. Moriarty was found dead in his cell, having hung himself.
 9                h. In 2016, Jason Nishimoto killed himself with a bedsheet on his fourth
10                   night in a County jail, the evening before he was scheduled to see a
11                   psychiatrist. His psychiatric condition was well known to the jail staff,
12                   who ignored it.
13                i. In 2018, at least four suicides occurred in the Central Jail. Most notably,
14                   on October 8, 2018, an inmate killed himself the same day he was booked
15                   into Central Jail. He reportedly used food to suffocate himself while he
16                   was being housed in a unit designed for suicidal inmates.
17          78.   The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
18    unknown policymakers for the County and the Department were aware of a long history
19    of their subordinates failing to conduct proper cell checks, including the following
20    examples:
21                a. In the case of Mr. Sisson’s death in 2011, jail staff failed to check on Mr.
22                   Sisson for hours. Mr. Sisson died during drug withdrawal.
23                b. In 2012, as Mr. Victorianne lay on his cell floor, naked and unconscious,
24                   none of the deputies conducted proper security check, soft counts, or hard
25                   counts. One deputy was told by an inmate that Mr. Victorianne was not
26                   breathing. This deputy kicked Mr. Victorianne, stated Mr. Victorianne
27                   “twitched,” and left him to die in his cell.
28                c. In 2014, Christopher Carroll, who was severely mentally ill, was placed
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 1                  in segregation. While unobserved, Mr. Carroll had smeared blood on the
 2                  wall of his cell, urinated on the floor, and threw food and feces on the
 3                  ceiling before hanging himself. Jail staff failed to conduct proper cell
 4                  checks despite knowing about Mr. Carroll’s condition.
 5               d. In Mr. Nunez’s case, a deputy saw Mr. Nunez in his cell sitting in his own
 6                  vomit and urine. Despite seeing Mr. Nunez twice in this condition, this
 7                  deputy failed to summon help or take Mr. Nunez to medical services. The
 8                  deputy left Mr. Nunez in his cell to die.
 9               e. In Mr. NeSmith’s case in 2014, a jail deputy saw Mr. NeSmith attempting
10                  suicide, but took no action to stop Mr. NeSmith or to call for psychiatric
11                  intervention.
12               f. In February of 2016, Richard Boulanger hung himself in his cell. His
13                  cellmate pressed the emergency all button, but no deputy came to the cell
14                  for approximately 20 minutes. A subsequent investigation revealed that
15                  one of the deputies did not break stride or look into Mr. Boulanger’s cell
16                  during a cell check. The investigation revealed that during cell checks,
17                  the deputy peered into each cell for approximately once second in
18                  violation of policy. The investigation further revealed a practice in which
19                  the deputies were turning off the sound of the emergency call buttons,
20                  lowering the volume, or muting the inmate intercom system so that no
21                  sound could be heard. Call buttons in many of the housing units did not
22                  function, which made no sound when pressed. The audio for the monitor
23                  in the jail tower did not function well so that it was difficult to hear tones
24                  and sounds from the monitor even when the volume was turned to the
25                  maximum level.
26               g. In addition to these specific cases in which the County, Gore, Frierson,
27                  Chief Medical Officer, Lee, and currently unknown policymakers for the
28                  County and the Department were placed on notice, jail staff had
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 1                   themselves notified the County that they were not conducting proper cell
 2                   checks and that glancing into a cell without breaking stride was routine
 3          79.   The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
 4    unknown policymakers for the County and the Department have a long history of failing
 5    to investigate misconduct, take appropriate remedial action, and covering up wrongdoing,
 6    including the following examples:
 7                a. In the case of Mr. Victorianne, the supervisors covered up wrongdoing by
 8                   interfering with the investigation by preventing homicide investigators
 9                   from interviewing the last deputies to see Mr. Victorianne alive. After his
10                   own staff issued a recommendation that certain staff members be
11                   reprimanded for lying, Gore refused to follow it.
12                b. When Mr. NeSmith’s widow sued the County over his death, she cited to
13                   the San Diego CityBeat article titled “60 Dead Inmates” by Kelly Davis,
14                   an award-winning journalist who exposed the problem of the high death
15                   rates in County jails. County officials then targeted Davis, subpoenaing
16                   her to divulge all the information and sources she used for her story,
17                   including confidential discussions with attorneys about the wrongful
18                   death lawsuits. The County then filed a motion to compel. Instead of
19                   addressing the known problems in County jails, County officials targeted
20                   this journalist with the intent to silence any criticism and public attention.
21                c. After the deaths of Mr. Nishimoto, Mr. Nunez, and Mr. Moriarty,
22                   Defendant Lee and Dr. Alfred Joshua (former San Diego Sheriff’s Chief
23                   Medical Officer) agreed with the County’s private mental-health
24                   contractor, Correctional Physicians Medical Group (“CPMG”), that they
25                   would make documents “non-discoverable” during litigation. The County,
26                   Lee, and Dr. Joshua withheld critical evidence from the families of these
27                   decedents in order to keep the misconduct of the CPMG psychiatrists a
28                   secret.
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 1               d. The County’s investigative body, CLERB, which has the responsibility to
 2                  investigate all in-custody deaths and deputy misconduct, is underfunded
 3                  and understaffed.
 4               e. Those sitting on the actual board are volunteers, who are not required to
 5                  have previous special training or experience in investigations, or any other
 6                  relevant topics related to jail operations, Constitutional requirements, or
 7                  law.
 8               f. CLERB does not control its own budget. It cannot hire investigative staff
 9                  itself, even when required to complete its work. It does not have any
10                  subpoena authority.
11               g. CLERB has never inspected a single jail facility in the 25 years of its
12                  existence.
13               h. By October of 2017, CLERB had fifty-nine open in-custody death
14                  investigations, including a death going back six years.
15               i. On November 11, 2017, CLERB announced it was summarily dismissing
16                  twenty-two death cases without review based on a one-year time limitation
17                  for imposing officer discipline, which is imposed by the County despite
18                  the fact that CLERB has publicly stated that “death cases and other
19                  complex investigations often take more than one year to complete.”
20               j. This problem was caused by a patter in which County jail officials would
21                  not report in-custody deaths to CLERB for months or nearly a year.
22               k. As a result of the understaffing and underfunding of CLERB and the delay
23                  in reporting, it is not able to meaningfully investigate misconduct of
24                  deputies before the expiration of the one-year statute of limitations.
25                  Deputies thus continue to engage in misconduct with impunity, including
26                  the failure to render medical care, to conduct proper cell checks, to
27                  communicate/input vital information regarding detainees.
28               l. The failure to institute a working independent process for investigating
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 1                    deputy misconduct has led to a culture where egregious violations of
 2                    policies leads to no discipline. As a result, deputies continue to violate the
 3                    Jail’s policies and procedures with respect to conducting proper cell
 4                    checks.
 5                m. When it comes to medical personnel within the County jails, there is no
 6                    independent review by any outside individual, board, or agency—even
 7                    when the misconduct or negligence leads to serious injury or death.
 8    E.    Ivan’s Wrongful Death
 9          80.   Defendant’s deliberately indifferent, intentional, reckless, and/or negligent
10    conduct toward Ivan’s health, safety, and welfare actually and proximately resulted in
11    Ivan’s avoidable suicide:
12                a. Jail staff failed to appropriately and safely respond to and deal with Ivan,
13                    an individual under their care and custody who they knew was suffering
14                    from schizophrenia and was actively suicidal by, among other things,
15                    providing him with prompt access to a mental-health provider, diligently
16                    monitoring him, and ensuring he did not have access to a means to attempt
17                    suicide;
18                b. The County and Department failed to provide the necessary resources and
19                    to adequately train their jail staff (both corrections and medical) to
20                    appropriately and safely respond to and deal with situations involving
21                    mentally ill and suicidal individuals;
22                c. Jail staff failed to provide reasonable accommodations to Ivan in light of
23                    a known and/or perceived disability;
24                d. The County, Gore, Frierson, Chief Medical Officer, Lee, and/or currently
25                    unknown supervisors for the County and the Department negligently hired,
26                    retained, controlled, and/or supervised the jail staff (both corrections and
27                    medical) who substantially contributed to Ivan’s death;
28          81.   As an actual and proximate result of Defendants’ tortious, as alleged herein,
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 1    Ivan suffered damages prior to his death, including those arising from his pre-death pain
 2    and suffering, in an amount to be proven at trial. Ms. Palacios, moreover, suffered
 3    damages arising from Ivan’s wrongful death and the conscience-shocking deprivation of
 4    her parent-child relationship with Ivan.
 5                                  VI.      CAUSES OF ACTION
 6                                  FIRST CAUSE OF ACTION
 7            42 U.S.C. § 1983 – Deliberate Indifference to Serious Medical Needs
 8         (By Ivan’s Successor in Interest Against Currently Unknown Department
 9                                             Personnel)
10          82.    All prior paragraphs are incorporated herein by this reference.
11          83.    Ms. Palacios asserts this cause of action as Ivan’s successor in interest.
12          84.    On March 18, 2020, Ivan was a pretrial detainee in Defendants’ custody.
13          85.    At all times relevant to this cause of action, Defendants were acting under
14    color of state law.
15          86.    On March 18, 2020, Defendants subjectively knew (or, objectively, should
16    have known) that Ivan faced serious medical risks and had serious medical needs,
17    including being actively suicidal.
18          87.    Despite this knowledge, Defendants were deliberately indifferent to Ivan’s
19    serious medical risks and needs by, among other things, failing to provide Ivan with
20    sufficient psychiatric care, providing Ivan with (or failing to confiscate from Ivan) the
21    means to complete suicide (a plastic bag), and leaving Ivan unmonitored for at least forty-
22    five minutes.
23          88.    By being deliberately indifferent to Ivan’s serious medical risks and needs,
24    Defendants violated Ivan’s Fourteenth Amendment right to be free from such deliberate
25    indifference as a pretrial detainee.
26          89.    As an actual and proximate cause of Defendants’ deliberate indifference to
27    Ivan’s serious medical risks and needs, Ivan suffered damages prior to his death, including
28    those arising from his pre-death pain and suffering, in an amount to be proven at trial.
                                                   19
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 1          90.    Defendants, moreover, acted (or failed to act) in deliberate and/or reckless
 2    disregard of Ivan’s constitutionally protected rights. Plaintiff thus seeks an award of
 3    exemplary damages against these defendants in an amount sufficient to punish this
 4    conduct and to deter such conduct in the future.
 5                                 SECOND CAUSE OF ACTION
 6                                      42 U.S.C. § 1983 – Monell
 7                       [By Ivan’s Successor in Interest Against County]
 8          91.    All prior paragraphs are incorporated herein by this reference.
 9          92.    Ms. Palacios asserts this cause of action as Ivan’s successor in interest.
10          93.    Ivan’s Fourteenth Amendment rights were violated, and he suffered damages,
11    as set forth in Plaintiff’s First Cause of Action.
12          94.    Ivan’s Fourteenth Amendment rights were violated as an actual and
13    proximate result of the County’s and the Department’s: (a) deliberate indifference to the
14    training needs of jail staff, including corrections and medical staff; and (b) a de facto
15    customs, practices, and polices of (i) failing to coordinate and share critical medical
16    information among jail staff; (ii)failing to conduct proper cell checks; (iii) failing to
17    investigate misconduct, take appropriate remedial action, and covering up wrongdoing.
18          95.    Defendants County, Gore, Frierson, Chief Medical Officer, and Lee were, at
19    the time of this incident, final policymakers for the County.
20          96.    By March 18, 2020, these final policymakers were well aware of the
21    countless deaths and injuries from denial of medical care, including preventable suicides.
22    A.    Deliberate Indifference to Training Needs Resulting in Constitutional
23          Violations
24          97.    These defendants and/or other currently unknown final policymakers for the
25    County and the Department have failed to maintain adequate and proper training necessary
26    to educate deputies and medical staff as to the Constitutional rights of inmates to prevent
27    the consistent and systemic failure to provide medical care, especially to those facing
28    mental illness and suicidality.
                                                    20
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 1    B.     De Facto Customs, Policies, and Practices Resulting in Constitutional
 2           Violations
 3           i.     Failure to Coordinate and Share Critical Medical Information Among
 4                  Jail Staff
 5           98.    These final policymakers were well aware that jail staff were not properly
 6    documenting the chronic disease status of detainees, including major mental illnesses, and
 7    suicidality. Jail staff thus needed training or re-training. They were also aware the JIMS
 8    system was out-of-date and training on the system was inadequate to prevent the violation
 9    of detainees’ constitutional rights.
10           99.    These final policymakers were well aware that there was a widespread
11    pattern and long history of failure to communicate detainees/patients’ critical medical
12    history to other staff.
13           100. Even after these final policymakers were provided with official reports from
14    multiple organizations notifying them of these deficiencies and poor training, they failed
15    to adequately train jail staff to address the problems noted by these reviewing
16    organizations.
17           ii.    Failure to Conduct Proper Cell Checks
18           101. At the time of this incident, these final policymakers knew jail staff were
19    conducting cell checks in a way that resulted in unnecessary harm and/or death to
20    detainees.
21           102. These final policymakers knew jail staff had lied in the past about conducting
22    proper cell checks.
23           103. These final policymakers knew jail staff had complained they had insufficient
24    time to conduct proper cell checks.
25           104. These final policymakers knew jail staff routinely failed to appropriately
26    monitor individuals suffering from mental illness, including those who were suicidal.
27           iii.   Failure to Properly Investigate
28           105. At the time of this incident, these final policymakers had maintained, and
                                                  21
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 1    were continuing to maintain, a de facto policy of not properly investigating deaths of
 2    detainees in County jails. These policymakers did so by leaving in place a woefully
 3    inadequate system (including CLERB) to determine whether detainee deaths were the
 4    result of a constitutional violation, whether such deaths were preventable, and whether
 5    such deaths could be prevented in the future.
 6          106. These final policymakers knew jail staff and Department personnel would
 7    wait months or years to report detainee deaths to CLERB, and that investigators were
 8    failing to obtain accurate and timely reports from witnesses and staff alleged to have been
 9    involved in misconduct or witnessed misconduct. NCCHC found that the Jail was failing
10    to conduct timely investigations of detainee deaths.
11          107. Upon information and belief, these final policymakers knew jail staff and
12    Department personnel (including investigators) to intimidate witnesses; ask leading
13    questions, suggesting the answers; and summarize inmate interviews in a manner that
14    distorted the actual recorded statements of witnesses. These final policymakers allowed
15    a pattern of keeping the truth from the families of inmates who die or suffer serious injuries
16    in the County jails to persist.
17          108. These final policymakers failed (and continue to fail) to adequately fund
18    CLERB, properly staff CLERB, to properly train CLERB on how to conduct proper
19    investigations. They also allow summary dismissals of in-custody deaths without any
20    investigation.
21          109. These final policymakers failed (and continue to fail) to set up a mechanism
22    to review the conduct of medical providers and staff in the County jails (regardless of the
23    employment/contractor relationship between providers and the County and Department).
24          110. Internal Affairs does not investigate medical or nursing misconduct. The
25    only “investigation” of misconduct of medical staff is through what defendants call “peer
26    review.” After such peer review, the County then asserts privilege over the investigation
27    materials, thereby shrouding the information and hiding the misconduct from the public.
28          111. NCCHC found that there was no formal peer review process for contract
                                                    22
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 1    medical providers or for nurses, which means that there is no mechanism to independently
 2    investigate their misconduct.
 3          112. NCCHC found there was no way to keep track of detainee grievances related
 4    to medical care in detainee’s medical files, and there is no way to sort or track the number
 5    of grievances related to the medical staff.
 6          113. NCCHC found that even when there was an investigation into a death of a
 7    detainee, practitioners were not told of the investigation results, making it impossible for
 8    the practitioners to learn from their mistakes.
 9          114. Because the County does not sufficiently fund or staff CLERB, it cannot
10    complete investigations of the overwhelming number of deaths in the Jails. Because
11    culpable jail staff are not disciplined, it creates a culture in which the staff violate the
12    constitutional rights of inmates and lie to cover it up without fear of discipline. This leads
13    to further mistreatment of detainees/patients.
14          115. Instead of properly investigating the misconduct of jail staff, the County has
15    focused its attention on preventing journalists from investigating deaths in the County jails
16    to silence any criticism and public outcry.
17          116. In those rare instances when CLERB makes a finding of fact and
18    recommends action against jail staff, Gore and other final policymakers reject the
19    recommendations.
20          117. The longstanding pattern of failing to properly investigate staff misconduct
21    led to the actions or inactions of the deputies and medical staff who denied proper medical
22    care and observation to Ivan. Defendants’ pattern of failing to investigate created a culture
23    of unconstitutional acts and acts that violate the Jail’s own policies and procedures,
24    including those policies related to cell checks.
25    C.    County’s Monell Liability
26          118. Ivan’s Fourteenth Amendment rights were violated as an actual and
27    proximate result of the County’s and the Department’s: (a) deliberate indifference to the
28    training needs of jail staff, including corrections and medical staff; and (b) a de facto
                                                    23
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 1    customs, practices, and polices of (i) failing to coordinate and share critical medical
 2    information among jail staff; (ii)failing to conduct proper cell checks; (iii) failing to
 3    investigate misconduct, take appropriate remedial action, and covering up wrongdoing.
 4           119. As an actual and proximate cause of the County’s and the Department’s
 5    deliberate indifference to training needs and the de facto customs, practices, and policies
 6    resulting in constitutional violations alleged herein, Ivan suffered damages prior to his
 7    death, including those arising from his pre-death pain and suffering, in an amount to be
 8    proven at trial.
 9                                 THIRD CAUSE OF ACTION
10          42 U.S.C. §§ 12101 et seq. – Violation of Americans with Disabilities Act
11         (By Ivan’s Successor in Interest Against Currently Unknown Department
12                                      Personnel and County)
13           120. All prior paragraphs are incorporated herein by this reference.
14           121. Ms. Palacios asserts this cause of action as Ivan’s successor in interest.
15           122. On March 18, 2019, and at all times relevant to this complaint, Ivan had a
16    disability as defined in 42 U.S.C. § 12102, in that he suffered from a mental impairment
17    that substantially limited his neurological functions and other major life activities.
18    Defendants were actually aware of Ivan’s disability on March 18, 2019, including
19    knowledge that Ivan was diagnosed with schizophrenia, had a history of suicidality, and
20    was actively suicidal. At a minimum, Defendants perceived Ivan as suffering from such
21    a disability.
22           123. On     March    18,   2019,   Defendants     failed   to   provide   reasonable
23    accommodations to Ivan to avoid discrimination against Ivan on the basis of his actual
24    and/or perceived disability. Defendants failed, in particular, to provide such reasonable
25    accommodations to Ivan as (a) implementing and carrying out a chronic-disease protocol
26    for severely mentally ill/suicidal detainees; (b) providing suicide-prevention training to
27    jail staff, (c) providing Ivan and other actively suicidal detainees with prompt access to a
28    mental-health provider, (d) diligently monitoring Ivan and other mentally ill/suicidal
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 1    detainees, and (e) ensuring Ivan and other suicidal detainees did not have the means (e.g.,
 2    a plastic bag) to attempt suicide.
 3          124. As an actual and proximate cause of Defendants’ failure to provide
 4    reasonable accommodations in light of Ivan’s disability, Ivan suffered damages prior to
 5    his death, including those arising from his pre-death pain and suffering, in an amount to
 6    be proven at trial.
 7          125. Because Defendants acted in the scope of their employment, the County is
 8    vicariously liable for the harm proximately caused by their conduct.
 9                                 FOURTH CASE OF ACTION
10               Cal. Civ. Code §§ 51 & 52 – Violation of Unruh Civil Rights Act
11      (By Ivan Ortiz’s Successor in Interest Against Currently Unknown Department
12                                      Personnel and County)
13          126. All prior paragraphs are incorporated by this reference.
14          127. Ms. Palacios asserts this cause of action as Ivan’s successor in interest.
15          128. On March 18, 2019, and at all times relevant to this complaint, Ivan suffered
16    from a disability as defined by California Civil Code section 51(d)(1) and California
17    Government Code section 12926(j) in that he suffered from a mental impairment that
18    substantially limited his neurological functions and other major life activities. Defendants
19    were actually aware of Ivan’s disability on March 18, 2019, including knowledge that Ivan
20    was diagnosed with schizophrenia, had a history of suicidality, and was actively suicidal.
21    At a minimum, Defendants perceived Ivan as suffering from such a disability.
22          129. Defendants failed to provide reasonable accommodations to Ivan to avoid
23    discrimination against Ivan on the basis of his actual and/or perceived disability.
24    Defendants failed, in particular, to provide such reasonable accommodations to Ivan as (a)
25    implementing and carrying out a chronic-disease protocol for severely mentally
26    ill/suicidal detainees; (b) providing suicide-prevention training to jail staff, (c) providing
27    Ivan and other actively suicidal detainees with prompt access to a mental-health provider,
28    (d) diligently monitoring Ivan and other mentally ill/suicidal detainees, and (e) ensuring
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 1    Ivan and other suicidal detainees did not have the means (e.g., a plastic bag) to attempt
 2    suicide.
 3          130. Further, to the extent Ivan’s rights under the ADA were violated, as set forth
 4    in the Third Cause of Action, Ivan’s rights under the Unruh Civil Rights Act were also
 5    violated. See Cal. Civ. Code § 51(f).
 6          131. As an actual and proximate cause of Defendants’ failure to provide
 7    reasonable accommodations in light of Ivan’s disability, Ivan suffered damages prior to
 8    his death, including those arising from his pre-death pain and suffering, in an amount to
 9    be proven at trial.
10          132. Because Defendants acted in the scope of their employment, the County is
11    vicariously liable for the harm proximately caused by their conduct pursuant to California
12    Government Code section 815.2.
13                                 FIFTH CAUSE OF ACTION
14         Cal. Civ. Code §§ 54 et seq. – Violation of California Disabled Persons Act
15      (By Ivan Ortiz’s Successor in Interest Against Currently Unknown Department
16                                     Personnel and County)
17          133. All prior paragraphs are incorporated by this reference.
18          134. Maria Palacios asserts this cause of action as Ivan’s successor in interest.
19          135. On March 18, 2019, and at all times relevant to this complaint, Ivan suffered
20    from a disability as defined by California Civil Code section 54(a)(1) and California
21    Government Code section 12926(j) in that he suffered from a mental impairment that
22    substantially limited his neurological functions and other major life activities. Defendants
23    were actually aware of Ivan’s disability on March 18, 2019, including knowledge that Ivan
24    was diagnosed with schizophrenia, had a history of suicidality, and was actively suicidal.
25    At a minimum, Defendants perceived Ivan as suffering from such a disability.
26          136. Defendants failed to provide reasonable accommodations to Ivan to avoid
27    discrimination against Ivan on the basis of his actual and/or perceived disability.
28    Defendants failed, in particular, to provide such reasonable accommodations to Ivan as (a)
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 1    implementing and carrying out a chronic-disease protocol for severely mentally
 2    ill/suicidal detainees; (b) providing suicide-prevention training to jail staff, (c) providing
 3    Ivan and other actively suicidal detainees with prompt access to a mental-health provider,
 4    (d) diligently monitoring Ivan and other mentally ill/suicidal detainees, and (e) ensuring
 5    Ivan and other suicidal detainees did not have the means (e.g., a plastic bag) to attempt
 6    suicide..
 7          137. Further, to the extent Ivan’s rights under the ADA were violated, as set forth
 8    in the Third Cause of Action, Ivan’s rights under the California Disabled Persons Act were
 9    also violated. See Cal. Civ. Code § 54(c).
10          138. As an actual and proximate cause of Defendants’ failure to provide
11    reasonable accommodations in light of Ivan’s disability, Ivan suffered damages prior to
12    his death, including those arising from his pre-death pain and suffering, in an amount to
13    be proven at trial.
14          139. Because Defendants acted in the scope of their employment, the County is
15    vicariously liable for the harm proximately caused by their conduct pursuant to California
16    Government Code section 815.2.
17                                  SIXTH CAUSE OF ACTION
18                                            Negligence
19                (By Ivan Ortiz’s Successor in Interest Against All Defendants)
20          140. All prior paragraphs are incorporated herein by this reference.
21          141. Ms. Palacios asserts this cause of action as Ivan’s successor in interest.
22          142. On March 18, 2019, Defendants had a duty to act with reasonable care and
23    prudence in jailing individuals, especially in dealing with those suffering from mental
24    illness and those who are suicidal.
25          143. Defendants breached their duty of care by improperly, negligently,
26    wrongfully, and recklessly failing to address Ivan’s serious medical risks and needs.
27          144. Defendants failed to sufficiently document Ivan’s condition and
28    communicate his condition to other jail staff.
                                                    27
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 1          145. Defendants failed to provide the medical and psychiatric care to Ivan needed
 2    to address his serious medical risks and needs.
 3          146. Defendants failed to adequately surveil and monitor Ivan.
 4          147. Defendants failed to conduct adequate welfare checks of Ivan.
 5          148. Defendants failed to conduct adequate cell checks of Ivan.
 6          149. Defendants failed to set forth policies regarding proper screening, evaluation,
 7    treatment, and observation of inmates suffering from a serious medical condition or mental
 8    illness, including those who are suicidal.
 9          150. Defendants failed to implement and carry out a chronic disease protocol to
10    address major mental illnesses.
11          151. Defendants allowed their staff to violate rules and regulations with regard to
12    conducting proper cell and welfare checks, whereby staff were failing to conduct proper
13    cell checks even when an inmate had a history of suicide attempts and suicidal ideation.
14          152. Defendants failed to train their subordinates on how to handle encounters
15    with persons who have major mental illness, suicidal ideation, or another disability.
16          153. Defendant failed to conduct adequate self-evaluation of procedures and
17    training under the Americans with Disabilities Act about how to handle protocols for
18    patients who suffer from major mental illnesses and suicidality.
19          154. By engaging in the act alleged herein, Defendants failed to act with ordinary
20    care and breached their duty of care owed to Ivan.
21          155. Moreover, to the extent that Defendants violated the Americans with
22    Disabilities Act, the California Unruh Civil Rights Act, and/or the California Disabled
23    Person Act, then the doctrine of negligence per se applies. That is, these acts were enacted
24    to protect individuals with disabilities, like Ivan. A fact finder may, therefore, conclude
25    Defendants’ violation of these statues was negligence per se.
26          156. As an actual and proximate cause of Defendants’ negligence, Ivan suffered
27    damages prior to his death, including those arising from his pre-death pain and suffering,
28    in an amount to be proven at trial.
                                                   28
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 1          157. Because Defendants acted in the scope of their employment, the County is
 2    vicariously liable for the harm proximately caused by their conduct pursuant to California
 3    Government Code section 815.2.
 4                                SEVENTH CAUSE OF ACTION
 5                            Negligent Hiring, Retention, & Supervision
 6       (By Ivan Ortiz’s Successor in Interest Against Gore, Frierson, Chief Medical
 7           Officer, Lee, Currently Unknown Department Personnel, and County)
 8          158. All prior paragraphs are incorporated herein by this reference.
 9          159. Ms. Palacios asserts this cause of action as Ivan’s successor in interest.
10          160. On March 18, 2019, Gore, Frierson, Chief Medical Officer, Lee, and
11    currently unknown Department supervisors had a duty to hire, retain, and supervise
12    corrections staff and medical staff who were fit to perform their jobs as jail staff.
13          161. The currently unknown department personnel who were responsible for, or
14    substantially contributed to Ivan’s death, were each unfit and/or incompetent to perform
15    their respective duties as law enforcement officers, correctional staff, and/or medical staff.
16    These individuals:
17                 a. failed to properly document a serious medical condition;
18                 b. failed to communicate to the other jail staff regarding the need to
19                    monitor;
20                 c. failed to provide medical care of a serious medical condition;
21                 d. failed to provide proper psychiatric care;
22                 e. discriminated against, and failed to accommodate Ivan’s disability,
23                    because of their perceptions of Ivan’s disability and mental health;
24                 f. failed to provide proper or enhanced surveillance and monitoring to
25                    Ivan;
26                 g. failed to conduct proper welfare checks of Ivan;
27                 h. failed to conduct proper cell checks of Ivan;
28                 i. failed to render medical care to Ivan who was in obvious physical
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 1                       and mental distress and in acute need of care; and
 2                 j. failed to screen, evaluate, treat, and observe inmates suffering from
 3                       a serious medical condition or mental illness.
 4          162. Gore, Frierson, Chief Medical Officer, Lee, and currently unknown
 5    Department supervisors should have known, prior to this incident, that their subordinates
 6    were unfit and/or incompetent to perform their duties as jail staff.
 7          163. As an actual and proximate cause of these defendants’ breach of their duty to
 8    exercise reasonable care in the hiring, retention, and supervision of their subordinates,
 9    Ivan suffered damages prior to his death, including those arising from his pre-death pain
10    and suffering, in an amount to be proven at trial. Gore, Frierson, Chief Medical Officer,
11    Lee, and currently unknown Department supervisors are therefore individually liable for
12    this negligence.
13          164. Because these defendants acted in the scope of their employment, the County
14    is vicariously liable for the harm proximately caused by their conduct pursuant to
15    California Government Code section 815.2.
16                                  EIGHTH CAUSE OF ACTION
17                            42 U.S.C. § 1983 – Substantive Due Process
18          (By Maria Palacios Against Currently Unknown Department Personnel)
19          165. All prior paragraphs, except those alleging mere negligence under the
20    Seventh and Eighth Causes of Action, are incorporated herein by this reference.
21          166. On March 18, 2019, Defendants knew Ivan had a history of suicide attempts
22    while in County jails, that Ivan had attempted suicide that morning, and that Ivan was
23    actively suicidal, including hearing command hallucinations to hurt and kill himself.
24          167. Defendants were not faced with rapidly evolving circumstances on March 18,
25    2019, in the sense that they needed to make split-second decisions. Rather, they had time
26    to deliberate and decide on how they were going to address Ivan’s serious medical risks
27    and needs.
28          168. Despites their knowledge of Ivan’s serious medical risks and needs, and the
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 1    fact that they had time to adequately address these risks and needs, Defendants allowed
 2    Ivan to have a plastic bag and then left him unmonitored for at least forty-five minutes.
 3    This shocks the conscience.
 4          169. Ivan died as an actual and proximate result of Defendants’ conscious-
 5    shocking conduct.
 6          170. As an actual and proximate result of Ivan’s death, Ms. Palacios was deprived
 7    of her Fourteenth Amendment right as a parent to enjoy the familial companionship and
 8    society of her son.
 9          171. As a direct and foreseeable result of this denial of substantive due process,
10    Plaintiff suffered economic and non-economic damages, in an amount to be determined at
11    trial, including funeral expenses and loss of love, companionship, comfort, care, assistance,
12    protection, affection, society, and moral support.
13          172. Defendants, moreover, acted (or failed to act) in deliberate and/or reckless
14    disregard of Plaintiff’s constitutionally protected rights. Plaintiff thus seeks an award of
15    exemplary damages against these defendants in an amount sufficient to punish this
16    conduct and to deter such conduct in the future.
17                                  NINTH CAUSE OF ACTION
18                                         Wrongful Death
19                          (By Maria Palacios Against All Defendants)
20          173. All prior paragraphs are incorporated herein by this reference.
21          174. At the time of his death, Ivan had no spouse or issue. Thus, Plaintiff, as
22    Ivan’s parent, has standing to assert a cause of action for the wrongful death of Ivan. See
23    Cal. Civ. Proc. Code § 377.60.
24          175. As alleged herein, Ivan died as a result of each and every Defendants’ tortious
25    conduct. Ivan’s death was, therefore, wrongful for purposes of a claim for damages under
26    California Code of Civil Procedure section 377.60.
27          176. As a direct and foreseeable result of Ivan’s wrongful death, Ms. Palacios
28    suffered economic and non-economic damages, in an amount to be determined at trial,
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 1    including funeral expenses and loss of love, companionship, comfort, care, assistance,
 2    protection, affection, society, and moral support.
 3                                   TENTH CAUSE OF ACTION
 4                             Intentional Infliction of Emotional Distress
 5      (By Maria Palacios Against Patron, Currently Unknown Department Personnel,
 6                                             and County)
 7              177. All prior paragraphs, except those alleging mere negligence under the
 8    Seventh and Eighth Causes of Action, are incorporated herein by this reference.
 9              178. On March 18, 2019, Defendants’ conduct toward Ms. Palacios was extreme
10    and outrageous, including Defendants’ stonewalling and coldhearted treatment of Ms.
11    Palacios as her son lay dying as a result of Defendants’ reckless and deliberately
12    indifferent conduct.
13              179. Defendants intended to cause Ms. Palacios to suffer, and/or acted with
14    reckless disregard of the probability that Ms. Palacios would suffer, emotional distress as
15    a result of the way Defendants treated her while she was trying to get information and/or
16    see her son after he was effectively allowed to attempt suicide.
17              180. As an actual and proximate result of Defendants’ outrageous conduct, Ms.
18    Palacios suffered severe emotional distress. Ms. Palacios thus seeks an award of damages
19    to compensate for this distress in an amount to be determined at trial.
20                                   VII. PRAYER FOR RELIEF
21              181. Pursuant to the foregoing causes of action, Plaintiff prays for the following
22    relief:
23                    a.   on all causes of action, that judgment be rendered in favor of Plaintiff
24                         and against Defendants;
25                    b.   on all causes of action, that compensatory damages (including economic
26                         and noneconomic damages) be awarded as permitted by federal and state
27                         law, in amounts to be determined at trial;
28                    c.   on the First and Ninth Causes of Action, that punitive damages be
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 1                     awarded against the individual defendants to these causes of action, as
 2                     permitted by federal law, and in an amount sufficient to deter and make
 3                     examples out of these individuals, to be determined at trial;
 4                d.   reasonable attorney fees, expenses, and costs of suit pursuant to 42
 5                     U.S.C. §§ 1988 and 12205; California Civil Code sections 52.1 et seq.;
 6                     and California Code of Civil Procedure section 1021.5; and any other
 7                     relevant statutory or case law; and
 8                e.   any and all other relief in law or equity to which Plaintiff may be entitled
 9                     and which this Court deems just and proper.
10                             VIII. DEMAND FOR JURY TRIAL
11          Pursuant to Rule 38 of the Federal Rules of Civil Procedure and the Seventh
12    Amendment to the Constitution, Plaintiff hereby demands a trial by jury of this action.
13

14    Dated: March 10, 2020                         SINGLETON LAW FIRM, APC
15                                                  By:   s/Trenton G. Lamere
16                                                        Trenton G. Lamere
17

18    Dated: March 10, 2020                         HEPBURN,       HERNANDEZ,          &     JUNG
19                                                  TRIAL ATTORNEYS
20                                                  By:   s/Adam Hepburn
21                                                        Adam Hepburn
22

23                                                  Attorneys for Plaintiff Maria Palacios
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